Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.1 Page 1 of 20




                                               CV-04-3123-EFS
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.2 Page 2 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.3 Page 3 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.4 Page 4 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.5 Page 5 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.6 Page 6 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.7 Page 7 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.8 Page 8 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.9 Page 9 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.10 Page 10 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.11 Page 11 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.12 Page 12 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.13 Page 13 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.14 Page 14 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.15 Page 15 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.16 Page 16 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.17 Page 17 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.18 Page 18 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.19 Page 19 of 20
Case 2:04-cv-03123-JLQ   ECF No. 1   filed 11/03/04   PageID.20 Page 20 of 20
